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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION
                                    AT MACON, GEORGIA

                                 MINUTE SHEET MOTION HEARING


Date:   October 18, 2017                           Court Time for MJSTAR:/JS10: 1/20

Judge: LESLIE J. ABRAMS                            Court Reporter: Mindy Martin

Courtroom Deputy: Felicia Rushing                  Law Clerk: Kristin Royal

                                   Case Number: 5:13-cv-306(LJA)

YKK CORPORATION, et al.                              Counsel: Steven D. Moore
                                                              David Alan Reed
                                                              Michael A. Bertelson
v.


VELCRO USA INC                                       Counsel: Sara C. Fish
                                                              Christopher O. Green
                                                              Thad C. Kodish

Agents:/Experts in Attendance:

DISCLAIMER: CONTENTS OF THIS MINUTE SHEET ARE FOR ADMINISTRATIVE PURPOSES ONLY AND ARE NOT
MEANT AS A SUBSTITUTION FOR THE OFFICIAL COURT RECORD. ATTORNEYS SHOULD CONTACT THE COURT
REPORTER AND ORDER A TRANSCRIPT IF THERE ARE ANY QUESTIONS AS TO THE CONTENTS HEREIN.

11:08 Called to order. Case called. Parties identified. Preliminary remarks by the Court.
      Discussion re: motion for reconsideration (Doc. 131).
      Mr. Moore made arguments.
      Mr. Green responded and requested tendering exhibits on the record. Mr. Moore objected.
      The Court made findings and sustained objection and DENIED motion for reconsideration
      (Doc. 131). Mr. Moore made additional arguments.
      The Court made additional findings and upheld ruling.
      Discussion re: motion to strike (Doc. 143). The Court made findings and GRANTED motion to
      strike and thereby STRIKING motion for summary judgment (Doc. 139).
      Discussion re: motion to exclude (Doc. 137). Ms. Fish made arguments. Mr. Moore responded.
      The Court reserved ruling on motion to exclude (Doc. 137).
      Mr. Moore made additional arguments. Ms. Fish addressed the Court.
      The Court addressed counsel and will reserve ruling.
      Discussion re: description of benefits. Ms. Fish made arguments. Mr. Moore responded.
      Ms. Fish made additional arguments. The Court made findings and overruled objection.
      Discussion re: self-alignment benefit.
      Ms. Fish made arguments. Mr. Moore responded. Ms. Fish responded.
      The Court made findings and will not exclude evidence re: self-alignment benefit.
      Discussion re: reliability of witness. The Court reserved ruling.
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      Mr. Green addressed the Court re: Plaintiff’s supplement expert reports with no motion for leave.
      Mr. Moore responded. Mr. Green proposed bifurcation of the remedy phase of the trial.
      Mr. Moore will consult with client and respond by Monday.
      Mr. Moore addressed the Court re: terms of bifurcation.
      The Court instructed the parties to confer on bifurcation and if agreed, supplement pretrial order.
      If the parties do not agree on bifurcation, the parties will submit a proposal by October 25, 2017 to
      the Court on how to proceed with the supplemental report and defendant’s rights to additional
      depositions and rebuttal in the time frame prior to the trial date.
      Mr. Green addressed the Court re: motion for leave to supplement expert reports.
      The Court instructed Plaintiff to file motion for leave to supplement expert reports by
      October 25, 2017.
12:28 Concluded.




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